                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS

                                                         :
JANE DOE,                                                :
                                                         :
                         Petitioner,                     :
                                                             No. 4:19-cv-04112
         v.                                              :
                                                         :
MACQUARIE INVESTMENT                                     :
MANAGEMENT BUSINESS TRUST,                               :
                                                         :
                         Respondent.                     :
                                                         :


      RESPONDENT’S OPPOSED MOTION TO EXPEDITE CONSIDERATION OF ITS
     PENDING MOTION (i) TO DISMISS THE PETITION TO COMPEL ARBITRATION
    FOR FAILURE TO STATE A CLAIM, (ii) TO STRIKE CERTAIN ALLEGATIONS OF
                   THE PETITION, AND (iii) FOR SANCTIONS

         Respondent, Macquarie Investment Management Advisers (“Macquarie”) (incorrectly

identified as Macquarie Investment Management Business Trust in the caption), respectfully

moves for expedited consideration of its pending Motion (i) to dismiss the petition to compel

arbitration for failure to state a claim, (ii) to strike certain allegations of the petition, and (iii) for

sanctions (the “Motion to Dismiss”) (ECF No. 8).

         Petitioner and Macquarie are currently in the midst of an AAA arbitration that has been

stayed for 30 days (until November 22, 2019) because of this federal action. (A copy of the stay

order is attached as Exhibit 1.) It is in all parties’ interest to have this matter expedited and allow

the parties to return to their pending arbitration.1

         Petitioner’s opposition to the Motion to Dismiss is currently due November 14, 2019, and

any reply would be due on November 21, 2019. Pursuant to Local Rule of Civil Procedure 7.8,

this Court has broad discretion to shorten the motion schedule and expedite the review of this

1
 Petitioner filed her Statement of Claim with the AAA in early January 2019; this arbitration proceeding
will soon reach the one-year mark.



59983720v.1
matter. Macquarie requests that the Court do so. Macquarie’s counsel has conferred with

Petitioner’s counsel and Petitioner opposes the relief sought in this motion.



                                              /s/ Linda C. Schoonmaker
                                              Linda C. Schoonmaker
                                              Texas Bar No. 17806300
                                              lschoonmaker@seyfarth.com
                                              Brian A. Wadsworth
                                              Texas Bar No. 24075231
                                              bawadsworth@seyfarth.com
                                              SEYFARTH SHAW, LLP
                                              700 Milam Street, Suite 1400
                                              Houston, Texas 77002
                                              Telephone: (713) 225-2300
                                              Facsimile: (713) 225-2340


OF COUNSEL:

Ellen Rosen Rogoff, Esq. (admitted pro hac vice)
Jeffrey A. Lutsky, Esq. (admitted pro hac vice)
Stradley Ronon Stevens & Young, LLP
2005 Market Street, Suite 2600
Philadelphia, PA 19107-7018
Telephone: (215)56-8000
Facsimile: (215) 564-8120




59983720v.1                                      2
                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument was served on all

counsel of record, as listed below, via the court’s electronic filing system, on October 30, 2019:


                                    Charles A. Sturm, Esq.
                                    723 Main Street, Suite 330
                                    Houston, TX 77002
                                    cstrum@sturmlegal.com

                                    Attorney for Petitioner



                                                      /s/ Linda C. Schoonmaker
                                                      Linda C. Schoonmaker


                              CERTIFICATE OF CONFERENCE

         I hereby certify that Macquarie’s counsel conferred with Petitioner’s counsel about the

relief sought in this motion and Petitioner opposes the relief sought in this motion.


                                                      /s/ Linda C. Schoonmaker
                                                      Linda C. Schoonmaker




59983720v.1
